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 6
 7                           UNITED STATES DISTRICT COURT
 8                         SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                  CASE NO.: 21-CR-2227-H
10
                           Plaintiff,           Hon. Marilyn L. Huff
11
           v.                                   MR. PONCE-GALVAN’S
12                                              SENTENCING MEMORANDUM
     RAMIRO PONCE-GALVAN
13
                           Defendant.
14
15
16
     TO: RANDY GROSSMAN, UNITED STATES ATTORNEY;
17       AMY WANG, ASSISTANT UNITED STATES ATTORNEY;
18       STEPHEN WONG, ASSISTANT UNITED STATES ATTORNEY;
         ADRIENNE SCOTT, UNITED STATES PROBATION:
19
                                               I.
20
21                                      INTRODUCTION
22
            Ramiro Ponce-Galvan respectfully requests a sentence of 30 months’ custody
23
     with no supervised release to follow. While the requested sentence is significantly
24   below the guidelines and substantially less than the sentence imposed in 2016 for his
25   prior §1326 offense, there is good cause to impose the requested sentence. Most
26   notably, Mr. Ponce-Galvan attempted to return to the United States after his brother
27   had been shot and killed in Mexico and after Mr. Ponce-Galvan himself received
28   threats in Tijuana.
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 1                                             II.
 2
        THE REQUESTED SENTENCE IS APPROPRIATE UNDER 3553(a)
 3
 4      A. Mr. Ponce-Galvan was born in Michoacan where his family has been the
           victim of violence numerous times over the past twenty-five years
 5
           Mr. Ponce-Galvan is 38 years old. He was born in Michoacan, Mexico in 1984
 6
     where his father, Virgilio Ponce, owned a cattle ranch. When Mr. Ponce-Galvan was
 7
     five years old, his father was shot and killed by unknown assailants. Then, in 1997, Mr.
 8
     Ponce-Galvan’s older brother, Virgilio Ponce-Galvan, was also shot and killed by
 9
     unknown assailants. Virgilio was just 15 years old at the time. Fearful that Mr. Ponce-
10
     Galvan would also be targeted, his mother sent him to the United States to live with
11
     her mother and brother in Orosi, California.
12
            Mr. Ponce-Galvan left home in 1997 shortly after Virgilio’s death. He was just
13
     12 years old. Although he was still just a child and not ready to leave home, his mother
14
     had explained that he was not safe in Michoacan and that she feared that he might be
15
     harmed or killed if he remained in Mexico. Mr. Ponce-Galvan was happy that he had
16
     family in the United States who could take him in, but living with his grandmother and
17
     uncle was not the same as living with his own mother. He missed his mother’s love
18
     and affection.
19
           His mother eventually moved to the United States when Mr. Ponce-Galvan was
20
     16 or 17, as did his two younger sisters and a younger brother. His sisters, Madeira,
21
     and Maria, both currently live in the Central Valley and they both have legal status in
22
     the United States.
23
        B. Upon arriving in the United States, Mr. Ponce-Galvan began working in
24         the fields at age 12
25
           Mr. Ponce-Galvan attended school through the 4th grade in Mexico. During his
26
     years in elementary school, he learned rudimentary reading and writing skills. When he
27
     arrived in the United States, rather than continue with his education as most children
28
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 1   his age were doing, Mr. Ponce-Galvan began working in the fields of California’s
 2   Central Valley. Mr. Ponce-Galvan’s family needed him to work, rather than attend
 3   school, so that he could help his family make ends meet. He picked grapes, nectarines,
 4   cherries, and peaches, working from 6 am to 4 pm five or six days a week for $6.50
 5   per hour. There is a loophole in U.S. child labor laws that allows children to start
 6   working in the fields as young as age 10.
 7          According to a report from American Public Media, farm work is one of the
 8   riskiest jobs in the United States. 1 Farmworkers are exposed to pesticides, extreme
 9   weather, extreme temperatures, and dangerous equipment. According to American
10   Public Media, “It’s deadlier than being a firefighter, a mine machinery operator or a
11   police officer.” Despite the risks associated with this work, “harvesting crops is one of
12   the nation’s lowest-paying jobs.” Id. Mr. Ponce-Galvan toiled in the fields from age 12
13   to about age 19 or 20.
14       C. Limited opportunities, and his struggle with drug addiction resulted in
            criminal convictions and deportation to Mexico
15
16          Sadly, Mr. Ponce-Galvan became exposed to methamphetamine at a young age.
17   It’s not surprising, given the long hours he worked in the fields, and lack of parental
18   supervision or guidance, that he quickly became addicted to the drug. When he was
19   still just a teenager, he began to have run ins with the law, largely due to his own drug

20   addiction. This culminated with him serving a lengthy prison sentence in 2009 after he

21   was convicted of assault with a firearm and then later of §1326, for which he received

22   a sentence of 63 months.2

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     1
24       The Children in the Fields, APM reports August 14, 2019, available at:
     https://www.apmreports.org/episode/2019/08/14/the-children-in-the-fields.
25   2
       Mr. Ponce-Galvan’s sentencing range under the Guidelines when he was sentenced in 2016 was
     63-78 months. See 16-CR-382-JLS Dkt. No. 18 (PSR). The government recommended -2 for fast
26   track and imposed the +16 enhancement for a prior aggravated felony conviction. In 2016, the same
     year that Mr. Ponce-Galvan was sentenced, the 2L1.2 sentencing guidelines were amended and the
27   +16 enhancement was substituted for a less harsh sentencing scheme. Had Mr. Ponce-Galvan
     previously been sentenced under the current Guidelines, his sentencing range in 2016 would have
28   been 33-41 months (8 +10 (prior felony with a sentence greater than 5 years), -3 (acceptance) -2 (fast
                                                      3                                   21-CR-2227-H

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 1              Mr. Ponce-Galvan was deported in 2020, after serving a 63-month sentence for
 2   §1326. He had not spent any significant period of time in Mexico since he first came
 3   to the United States at age 12. But after serving such a lengthy prison sentence for
 4   illegal reentry, he realized the severe consequences he faced if he returned to the
 5   United States. He was determined to begin a new life for himself in Mexico. But, as
 6   described below, he began to fear for his safety and even his life after his brother was
 7   murdered in Mexico and Mr. Ponce-Galvan himself received threats.
 8              Going forward, Mr. Ponce-Galvan hopes to present his application for
 9   withholding of removal or protection under the Convention Against Torture to the
10   immigration court. In addition, his family has remained supportive of him over the
11   years. His sister Maria Ponce, who testified at his trial, visited him in Mexico and has
12   provided financial and emotional support to Mr. Ponce-Galvan. He will count on her
13   support going forward, whether it be to gather evidence in support of his immigration
14   claim, or help finding a safe place to live in Mexico.
15
16                                                     II.
17          The Requested Sentence is Fair and Will Result in Just Punishment
18              In the history of the world, it might even be that there was more punishment than crime –
19              Cormac McCarthy, The Road

20              A. Imperfect Duress
21              The Court should depart downward four levels based on imperfect duress
22   under §5K2.12 which provides that “if the defendant committed the offense because
23   of serious coercion, blackmail or duress, under circumstances not amounting to a
24   complete defense, the court may depart downward.” As described above, Mr. Ponce-
25   Galvan’s father and brother were murdered in Michoacan, Mexico in 1987 and 1997
26
27
28   track)).
                                                        4                                21-CR-2227-H

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 1   respectively. After his brother, Virgilio, died in 1997, his mother sent Mr. Ponce-
 2   Galvan to live with his uncle and grandmother in Orosi, California.
 3          In 2019, Mr. Ponce-Galvan’s younger brother, Jose Ivan Estrada Ponce, was
 4   deported from the United States to Mexico. Jose Ivan returned to Michoacan. But he
 5   was tragically shot and killed in Michoacan on June 24, 2020 less than 9 months after
 6   his deportation and about 6 weeks before Mr. Ponce-Galvan was deported to
 7   Mexico on August 10, 2020. 3 Ex. A, B. The murder occurred on the “Carretera
 8   Tacambaro-Puruaran, Chupio Tacambaro.” It appears that there was a police
 9   investigation and some local news coverage of his murder.4 Ex. C. However, the
10   family never found out who had killed Jose Ivan or why.
11          Mr. Ponce-Galvan was first deported to Mexico in 2003 and has been removed
12   on several occasions. He typically returned to the United States shortly after his
13   removal. However, in 2020, he was deported after having served a sentence of 63
14   months in custody on a §1326 offense. Aware that he was facing severe consequences
15   should he return to the United States without permission, he resolved to remake a life
16   for himself in Mexico. He decided to settle in Tijuana, rather than return to the area
17   where he was born, because of the violence his family had experienced in Michoacan.
18   He was particularly concerned because Jose Ivan had been murdered in Michoacan,
19   less than two months before Mr. Ponce-Galvan was deported. Nonetheless, he

20   believed he would be safe in Tijuana, far from central Mexico. He found work in the

21   construction industry, met a girlfriend named Joanna that he was serious about, and

22   was happy. His sister Maria Ponce visited him when she could and Mr. Ponce-Galvan

23   began to envision a future for himself in Mexico.

24
25   3
      Exhibit A is a crime scene photo provided to counsel by Mr. Ponce-Galvan’s family. Had she been
     permitted to do so, Maria Ponce would have testified at trial that she recognized her brother, Jose
26   Ivan Ponce Estrada, as one of the deceased individuals in this photo and that she showed this photo
     to Mr. Ponce-Galvan on one of her visits to see him in Mexico.
27   4
      See attached articles describing a double homicide in the Chupio section of the municipality of
28   Tacambaro.
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 1         Unfortunately, on March 11, 2021, Mr. Ponce-Galvan was threatened in
 2   Mexico. He had gone to an OXXO convenience store in his neighborhood where a
 3   young man approached him and, in a threatening voice, told Mr. Ponce-Galvan, “you
 4   better get out of here. We don’t want you here.” Mr. Ponce-Galvan didn’t know who
 5   this man was or why he had threatened him, but he didn’t want trouble, so he relocated
 6   to another neighborhood in Tijuana and started living with his girlfriend, Joanna.
 7         Mr. Ponce-Galvan relayed to his family that he had been threatened and they
 8   began to grow increasingly concerned about Mr. Ponce-Galvan’s safety in Mexico,
 9   especially given what had happened to Jose Ivan. Because he had been threatened and
10   because his brother had been murdered after he was deported, Mr. Ponce-Galvan’s
11   sister, Maria Ponce, encouraged him to apply for asylum in the U.S.
12         Maria testified at her brother’s trial that she traveled to Mexico in March, 2021
13   to bring Mr. Ponce-Galvan a copy of Jose Ivan’s death certificate. She suggested that
14   they go to the Otay Mesa Port of Entry (“POE”) to inquire about seeking asylum.
15   Believing that the U.S. immigration authorities would help her brother, Maria
16   accompanied Mr. Ponce Galvan to the port of entry so that he could present Jose
17   Ivan’s death certificate and tell the immigration officers that he feared the same thing
18   would happen to him in Mexico. Rather than allow Mr. Ponce-Galvan to apply for
19   asylum at the Otay Mesa POE, the agents sent him to San Ysidro POE, where he was

20   also turned away. Maria waited for Mr. Ponce-Galvan at the San Ysidro POE with the

21   hope that he would be permitted to enter the United States and apply for asylum.

22   However, consistent with Title 42 policies in effect at the time, when Mr. Ponce-

23   Galvan went to the San Ysidro POE, he was turned away. Ex. C. Disheartened, Maria

24   returned home to Orange Cove, California and Mr. Ponce-Galvan returned to Tijuana.

25         Unfortunately, Mr. Ponce-Galvan was threatened in Mexico again, this time just

26   a couple of days before his arrest in this case. On July 4 or 5, 2021, he was in the
     neighborhood where he had been living since March, when he was approached by
27
     three masked individuals in a truck. They told him that this was the second time they
28
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 1   were telling him to leave Tijuana and that there, “wouldn’t be a third time.” They told
 2   him to get out of town as soon as possible. Mr. Ponce-Galvan didn’t know what to
 3   do. He had tried to ask for assistance at the port of entry but had been turned away.
 4   He began to panic. In fear for his life, Mr. Ponce-Galvan went home, gathered his
 5   things, and said goodbye to Joanna. He then traveled to El Centro where he tried to
 6   cross the border with the hope that he would be permitted to apply for asylum or
 7   protection from within the United States.
 8             B. The Court should grant an adjustment for acceptance of responsibility
 9
               The Court should adjust download for acceptance of responsibility under
10
     §3E1.1 because, at the time of his arrest, Mr. Ponce-Galvan “truthfully admitted the
11   conduct comprising the offense(s) of conviction.”5 Ex. D. He admitted the elements
12   of the offense as part of the statements he made in the field. He told the arresting
13   agent that he “was a citizen of Mexico who does not possess any immigration
14   documentation to enter, be, or remain in the United States legally.” Id. He further
15   admitted “to entering the United States illegally by crossing over the United
16   States/Mexico IBF.” Id. Agent Garcia-Guillen further noted that Mr. Ponce-Galvan
17   made a “credible fear claim” and that that Mr. Ponce-Galvan feared “persecution or
18   torture if returned to Mexico.” Id.
19             At trial, Mr. Ponce-Galvan did not testify in his own defense, but rather argued
20   that he was not guilty because he had come to the United States so that he could be
21   arrested and apply for asylum.
22             The Guidelines allow for an individual to be eligible for acceptance of
23   responsibility post trial. See §3E1.1, Application Note 2. “In rare situations a defendant
24   may clearly demonstrate an acceptance of responsibility for his criminal conduct even
25   though he exercises his constitutional right to a trial. This may occur, for example,
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27
28
     5
         See Attached for ROI describing Mr. Ponce-Galvan’s arrest
                                                       7                         21-CR-2227-H

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 1   where a defendant goes to trial to assert and preserve issues that do not relate to factual
 2   guilt (e.g., to make a constitutional challenge to a statute or challenge the applicability
 3   of a statute to his conduct.”). This is what happened in this case. At the time of his
 4   arrest, Mr. Ponce-Galvan admitted to the conduct comprising the elements of the
 5   offense, but at trial challenged the applicability of the §1326 statute to his conduct. At
 6   trial, he did not testify, but argued that he had made a credible fear claim at the time
 7   of his arrest and that his intention was to come to the United States so that he could
 8   apply for asylum.
 9          For these reasons, the Court should depart two levels for acceptance of
10   responsibility.
11          C. The Court should depart downward on the basis of cultural
               assimilation
12
13          U.S.S.G. §2L1.2 allows for a downward departure based on cultural
14   assimilation where (1) the defendant formed cultural ties primarily with the United
15   States from having resided continuously in the United States from childhood; (2)
16   those cultural ties formed the primary motivation for the defendant’s illegal reentry
17   or continued presence in the United States, and (c) such a departure is not likely to
18   increase the risk to the public from further crimes of the defendant.
19          Mr. Ponce-Galvan came to the United States when he was just 12 years old

20   and has lived in this country for the majority of his life. He grew up in California,

21   began working in the agricultural fields in California’s Central Valley when he was 12

22   after having fled violence and tragedy in Mexico. After having lost several family

23   members to violence in Mexico, he felt like the country of his birth offered no hope

24   or future for him. He fled to the United States after being threatened in Mexico

25   because the United States has been his home and his safe haven since he was young.

26          For these reasons, a two-level downward departure due to his cultural
     assimilation is warranted.
27
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                                                  8                              21-CR-2227-H

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 1         D. Time in custody has been more difficult due to the COVID-19
 2            pandemic

 3         The Court should also consider that time in custody has been more difficult
 4   for Mr. Ponce-Galvan due to the COVID-19 pandemic. In addition to the
 5   restrictions on movement, programming, access to commissary etc. that have made
 6   time in custody more unpleasant than ever, Mr. Ponce-Galvan also contracted
 7   COVID-19 while in custody at El Centro GEO in late 2021. He was sick for about
 8   two weeks and spent that time in a COVID unit. He experienced many of the
 9   common symptoms associated with COVID including headache, bone aches,
10   vomiting, and fatigue. He also lost sense of smell and could barely eat for one week.
11         Unfortunately, although he recovered, he’s continued to have fatigue. It’s hard
12   for him to exercise, he tires easily, and experiences shortness of breath. Exercising
13   was one of the ways he was able to pass the time in custody and do something
14   healthy for his mind and his body. Life in custody has felt bleaker without regular
15   access to exercise. He’s begun to feel anxious, experience panic attacks, and he has
16   trouble sleeping at night. As a result, he is currently taking anti-anxiety medication as
17   well as medicine to help him sleep.
18
            In an effort to redirect his attention in a positive direction, he recently began
19
     working in the kitchen at the San Luis Detention Center from 3 am to 10 am. He
20
     enjoys this work. It keeps him occupied and quells his anxiety.
21
22   //

23   //
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     //
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 1                                            III.
 2                                    CONCLUSION
 3         Giving the foregoing, including that Mr. Ponce-Galvan has lived in the United
 4   States since he was a boy where he worked in the fields rather than attend school, and
 5   was motivated to return to the United States out of fear that he would be murdered in
 6   Mexico, this Court should impose the requested sentence of 30 months’ custody.
 7
 8                                           Respectfully submitted,
 9
     DATED: May 12, 2022                     s/ Cassandra L. Lopez
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                                             Federal Defenders of San Diego, Inc.
11                                           Attorneys for Mr. Ponce-Galvan
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